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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                 )
and THE STATE OF OKLAHOMA,                )
ex rel. WAYNE ALLISON, Relator,           )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )      CIV-16-569-F
                                          )      (31 U.S.C. §3730(b)(2))
SOUTHWEST ORTHOPAEDIC                     )
SPECIALISTS, PLLC, ET AL.,                )
                                          )
       Defendants.                        )

                             STIPULATION TO DISMISS

       On May 2, 2018, the United States filed its Notice of Election to Intervene in Part

and to Decline to Intervene in Part. Doc. 36. Also on May 2, 2018, the State of Oklahoma

filed its Notice of Election to Intervene in Part and Decline to Intervene in Part. Doc. 38.

In doing so, the United States and State of Oklahoma intervened in that part of this action

which alleges that defendants Southwest Orthopaedic Specialists, PLLC (“SOS”), Anthony

Cruse, D.O., R.J. Langerman, Jr. D.O., Daniel J. Jones, M.D., Mehdi Adham, M.D., Derek

West, D.O., Brian Levings, D.O., Shane Hume, D.O., Brad Reddick, D.O., and Kristopher

Avant, D.O. (“SOS Physicians”), submitted or caused to be submitted false or fraudulent

claims to government health care programs for ultrasound guidance procedures that were

not medically necessary, and the alleged claims that SOS and Brian Levings, D.O.,

submitted or caused to be submitted false or fraudulent claims to government health care

programs for an assistant in surgery when the assistant services were not rendered (“SOS
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Claims”). The SOS Claims are identified in paragraphs 177-189 of the Second Amended

Complaint.

       The United States, State of Oklahoma and Relator Wayne Allison hereby stipulate

to the dismissal of the SOS Claims with prejudice, except for Relator’s claims for

reasonable expenses, attorneys’ fees and costs under the False Claims Act, 31 U.S.C.

Section 3730(D), and the Oklahoma Medicaid False Claims Act, 63 O.S. § 5053.4. By

filing this Stipulation, the United States and State of Oklahoma notify the Court that the

United States Attorney General and Oklahoma Attorney General consent to the dismissal

because the parties have entered into a settlement resolving the SOS Claims. The parties

request, therefore, that the Court dismiss the SOS Claims with prejudice. Hereafter, the

United States and the State of Oklahoma will no longer be litigating parties in this action.

       A proposed order accompanies this Stipulation to Dismiss.

                                          Respectfully submitted,

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                                   Certificate of Service

   X        I hereby certify that on July 11, 2018, I electronically transmitted the foregoing
document to the Clerk of Court using the ECF System. Based on the records currently on
file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF
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           I hereby certify that on (date), the foregoing document was mailed, postage
prepaid, to the following:

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